‘Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 1 of 20 PagelD #: 5

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NORTHERN DISTRICT OF TEXAS
FILED
UNITED STATES DISTRICT COURIT
NORTHERN DISTRICT OF TEXAS _
AMARILLO DIVISION DEC - 5 2007
KIRK D. JENKINS,
CLERK, U.S. DISTRICT COURT
Plaintiff, 9.
Vv. Civil Action No.
NATIONAL BOARD OF MEDICAL = - =
NATIONAL B 2-O7CV-263-J
2 Defendant.

ORIGINAL COMPLAINT FOR EMERGENCY INJUNCTIVE
RELIEF AND DEMAND FOR JURY TRIAL

To the Honorable United States District Court Judge, Mary Lou Robinson:
Plaintiff, Kirk D. Jenkins (“Jenkins”), files his Original Complaint for Emergency
‘Injunctive Relief and Demand for Jury Trial against Defendant, National Board of Medical
Examiners (“NBME”) and respectfully states the following.
NATURE OF THE ACTION
1, This is an action for emergency, preliminary and permanent injunctive relief, and
for, attorneys’ fees and costs incurred in bringing this action based on NBME’s refusal to
provide reasonable accommodations to Jenkins pursuant to the Americans with Disabilities Act
(“ADA”), 42 U.S.C. §12101, et seq. Jenkins is a medical student at the University of Louisville
School of Medicine (““ULSOM”), and is scheduled to take the U. S. Medical Licensing
Examination (“USMLE”) Step 1 on December 18, 2007 in Amarillo, Texas. The NBME has
illegally refused and is illegally refusing to accommodate Jenkins’ learning disability by refusing

to provide Jenkins additional time to take the USMLE Step 1. Jenkins seeks a preliminary and

permanent injunction prohibiting the NBME from continuing its violation of his ADA rights and

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 2 of 20 PagelD #: 6

compelling NBME to allow Jenkins to take the examination with appropriate accommodations.
NBMEP’s actions are in violation of the ADA, including 42 U.S.C. § 12189.
PARTIES

2. Jenkins has completed the second year of instruction at ULSOM. Jenkins, who
has been diagnosed with a learning disability, intends to take the USMLE Step 1 on December
18, 2007, in Amarillo, Texas. Jenkins’ learning disability impairs his reading ability to the point
that his competence level is below that expected in comparison to most people and is a disability
within the meaning of the ADA. 42 USC §12102(2).

3. NBME is a District of Columbia non-profit organization headquartered in
Philadelphia, Pennsylvania. NBME administers the USMLE, a three-step examination, the
successful completion of which is required for medical licensure in the United States.
Additionally, the level of performance on the USMLE is a primary determinant of the quality of
institution for which a candidate will be accepted for residency training. Defendant has
previously administered and will administer the USMLE Step 1 within the boundaries of this
judicial district in December 2007.

4. NBME engages in business in Texas and this judicial district and this action arises
from those business activities. NBME, however, does not maintain a regular place of business in
this state or this judicial district and does not have a designated agent for services of process in
this state. Accordingly, under Texas Civil Practice and Remedies Code of 17.044(b), the Texas
Secretary of State is a proper agent for service of process on NBME. NBME’s principal place of
business is 3750 Market St., Philadelphia, Pennsylvania 19104 and its registered agent in its state

of incorporation is CT Corporation System 1025 Vermont Ave., N.W., Washington, D.C. 20005.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 2 J:\08062\Pleadings\08062005 Complaint.doc

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 3 of 20 PagelD #: 7

SUBJECT MATTER JURISDICTION AND VENUE

5. This action arises under the laws of the United States, specifically the ADA, and
accordingly, this Court has jurisdiction pursuant to 28 U.S.C. §1331. This Court also has
jurisdiction pursuant to 42 U.S.C. §12188(a)(1), which incorporates the provisions of 42 U.S.C.
§ 2000a-3(a), providing for civil actions in this Court by any person who is being subjected to
discrimination on the basis of disability in violation of Title III of the ADA.

6. Venue is proper in this Court pursuant to 28 U.S.C. §1391, as NBME is doing
business in this judicial district by virtue of administering the USMLE Step 1 in this district, and

is denying Jenkins the rights he is afforded under the ADA in this judicial district.

FACTUAL ALLEGATIONS

7. Jenkins has completed his second year of instruction at the ULSOM. As part of
his preparation for the third year of medical school, Jenkins is required to take the USMLE Step
1. He has applied for and been given a scheduling permit allowing him to take the exam on
December 18, 2007, in Amarillo. Jenkins is scheduled to begin rotations January 2, 2008. Ifhe
has not successfully completed the Step 1 by that time, Jenkins will not be allowed to join his
classmates when rotations begin. Such an outcome would likely end Jenkins’ medical education.

8. Jenkins’ learning disabilities were evident since preschool, were formally
diagnosed in the 3" grade, and additional and repeat testing by clinical psychologists in 1999,
2003 and 2007, document and confirm his learning disabilities. Specifically:

9. PRESCHOOL through KINDERGARTEN: Jenkins’ teacher noted that he
had “difficulty learning names of letters and associating the letters with their sounds, when all of
his other skills were above average.” The other children in the classroom were “reading at a

higher level” than Jenkins, and the teacher worked “one-on-one” with Jenkins, “often during

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 3 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 4 of 20 PagelD #: 8

recess and even after school.” Throughout this process, Jenkins’ teacher noted that he “showed
additional traits of dyslexia — difficulty decoding single words, inaccurate and labored oral
reading, slow reading, and difficulty learning the letters of the alphabet and names of numbers.” '

10. ELEMENTARY SCHOOL: Jenkins was referred for a learning disability
“assessment due to experiencing difficulties and frustrations with the academics of written
language, spelling and reading. Accordingly, he was tested and evaluated by the school
psychologist, Dr. Michael Gontarz. The battery of tests administered, and the results are
attached; briefly, Dr. Gontarz found that Jenkins “shows significant spelling weaknesses and
some reading decoding problems, but compensates in the latter when he must comprehend
what is read.” Dr. Gontarz found that Jenkins “is in need of one to one, small group instruction
in the area of spelling.”

11. Dr. Gontarz was a part of a Multidisciplinary Team at J enkins’ elementary school
whose purpose was to determine Jenkins’ exceptional educational needs, if any. Other team
members included the school principal, several of Jenkins’ teachers and the school’s Learning
Disability Specialists, Lori TeeGarden.

12. The consensus of the Multidisciplinary Team, which, again, included Jenkins’
teachers, the school psychologist and the school learning disability specialist, was that Jenkins
“did not possess the abilities to be a reader” and that “he was not proficient in the components
of phonemic/phonics, fluency and sight work vocabulary. The Multidisciplinary Team agreed

that Jenkins “was in need of one-to-one instruction to best meet his educational needs in reading

 

' Affidavit of Carol Blevins. Attached as Exhibit 1.
? Affidavit of Michael Gontarz. Attached as Exhibit 2.
: * Dr. Gontarz's Psychologist’s Report is attached to the D.C. Everest Area School District’s business
records affidavit. Attached as Exhibit 3.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 4 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 5 of 20 PagelD #: 9

and spelling” and that he could only remain in a regular reading class if provided
“accommodations and extensive support services.”

13, Likewise, Jenkins’ fourth grade teacher, who was a part of the Multidisciplinary
Team, also recognized Jenkins struggling in the area of language arts and that, with respect to
reading, he “still took extra processing time.” The teacher allowed Jenkins extra time for
completion of tests.°

14... TENTH GRADE: _ Jenkins’ tenth grade chemistry teacher noted that Jenkins
would stay after class to finish his tests. “He did well on tests. It just took him a long time to
finish them. *

15. TWELFTH GRADE AND THE ACT EXAM: During his senior year,
J enkins sat for the ACT Exam three times under normal time constraints, and received three low
scores. Puzzled by the poor performance, the Jenkins family sought the assistance of a clinical
psychologist.

16. Jenkins was evaluated by David R. Holmes, Ph.D. for complications related to his
learning style. The battery of tests Dr. Holmes administered is set forth in his attached
Psychological Report; briefly, with respect to Jenkins’ reading comprehension, Dr. Holmes
recommended various strategies to improve Jenkins’ reading, including “slow down the speed”
and “seek extra time for tests involving significant elements of reading. vl

17. The Dr. Holmes Report and the Dr. Gontarz Report supported Jenkins’ request for

extra time on a fourth try at the ACT Exam. With the accommodation of extra time, Jenkins’

 

4 Affidavit of Lori TeeGarden. Attached as Exhibit 4. See also the D.C. Everest Area School District’s
business records affidavit, which attaches the Multidisciplinary Team Report and Jenkins’ Individualized Education
Program. Attached as Exhibit 3.

> Affidavit of Randall B. Colton. Attached as Exhibit 5.

° Affidavit of William Heeren. Attached as Exhibit 6.

7 The Business Record Affidavit of David R. Holmes, Ph.D. Attached as Exhibit 7.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 5 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 6 of 20 PagelD #: 10

fourth ACT score was considerably higher than the three previous scores. Specifically, Jenkins’
Reading score on the ACT Exam jumped from an unaccommodated 16 to an accommodated
35 (64" percentile to 99" percentile).

: 18. THE UNIVERSITY OF WISCONSIN-MADISON: Jenkins completed his
undergraduate studies at the University of Wisconsin-Madison. While at the university, Jenkins,
based upon his documented disability, received the following formal accommodations:
“extended time on tests with up to time and a half, access to note-takers as needed, and access
to a dictionary when taking a test.”®

19. THE MCAT: In his junior year at the University of Wisconsin-Madison, Jenkins
was again tested and evaluated by Dr. Holmes. The battery of tests administered and the results
are attached; briefly, Dr. Holmes found that Jenkins “reading comprehension score was in the 4"
quartile while his reading score was in the 1“ quartile. This is an atypical combination such that
his reading speed is far below average while his comprehension is above average.” “Any task
requiring reading with speed produced his lowest scores.” Additionally, Dr. Holmes found that
Jenkins “continues to be in need of accommodations related to the need for longer time for
reading,” and “the nature of [Jenkins’] intracognitive discrepancies suggests that extended time
be allowed on timed tasks as an appropriate intervention.” Jenkins applied for and received the
accommodations of “time and one-half with seating in a separate room” for the MCAT exam.”

20. ULSOM: Following his undergraduate studies, Jenkins sought admission at
the University Of Louisville School Of Medicine, where he has completed his second year and
anticipates commencing his third year following the Step 1 Exam. While at ULSOM, Jenkins

received formal accommodations on exams. Specifically, “as a result of [Jenkins’] definitive

 

* Affidavit of Mark Leddy, Ph.D., CCC-SLP and Affidavit of Linda Gunkel. Attached as Exhibit 8.
* Business Records Affidavit of the Association of American Medical Colleges. Attached as Exhibit 9.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 6 J:\08062\Pleadings\08062005 Complaint.doc

 
‘Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 7 of 20 PagelD #: 11

diagnosis [of dyslexia] he has always been supplied with accommodations (normally time and a
half and a quiet environment to take the examinations). #10 “EXTENDED TEST TIME: Time
and a half on written exams”"'

21. USMLE Step 1/THE FIRST REQUEST FOR ACCOMMODATION: In
anticipation of the Step 1 Exam., Jenkins wrote to the NBME requesting the accommodation of
time and one-half on the exam. In support of his request, Jenkins advised NBME that he was
given formal accommodations of extra time on exams by (1) ACT Universal Testing (the not-
for-profit organization that administers the ACT); (2) the Association of American Medical
Colleges (the not-for-profit organization that administers the MCAT); (3) The University of
Wisconsin-Madison; and (4) The University of Louisville School of Medicine. Jenkins also
advised NBME that he had been diagnosed with dyslexia in the third grade which resulted in a
formal Independent Education Program (again, providing accommodations commensurate with
J enkins’ disability), and that he had received extra time on exams throughout grade school and
high school. Jenkins also enclosed the 1991 Dr. Gontarz Psychologist’s Report, the 1999 Dr.
Holmes Psychologist’s Report, and the 2003 Dr. Holmes reevaluation and the related reports.

22. On December 7, 2006, NBME wrote to Jenkins and advised him that the
information he had submitted was incomplete and asked him to “submit documentation of a
current, comprehensive evaluation by a qualified diagnostician to demonstrate [Jenkins’] current
functioning.” NBME specifically admonished Jenkins that the evaluator “should review and
discuss the Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition (DSM-IV-TR)

and the extent to which [Jenkins meets] the diagnostic criteria for each diagnosis.”

 

° Affidavit of David L. Wiegman. Attached as Exhibit 10.
'! Business Records Affidavit of ULSOM. Attached as Exhibit 11.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 7 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 8 of 20 PagelD #: 12

23. THE 2007 TESTING AND EVALUATION: Pursuant to NBME’s request,
J enkins was tested and evaluated by John M. Lacy, PhD., HSSP, a licensed clinical psychologist.
The battery of tests administered by Dr. Lacy and the results and findings are set forth in his
attached Psychoeducational Report. Dr. Lacy specifically diagnosed Jenkins as meeting the
DSM-I V criteria for the following diagnoses: (1) Reading Disorder (315.00); Disorder of Written
Expression (315.20); and Learning Disorder Not Otherwise Specified (i.e., low academic
fluency)(315.90). With respect to the effect of such diagnoses, Dr. Lacy explained that, “As a
lengthy test with a strict time limit that is presented in text form, the USMLE places Mr.
Jenkins at a disadvantage relative to his knowledge of the material in question as a result of
his low academic fluency and his reading decoding and written language disabilities.” Dr.
Lacy recommended that Jenkins “receive 50% additional time on the USMLE Step 1,” thereby
allowing Jenkins to be tested on his medical and science knowledge and not his disability.’
Jenkins provided the Dr. Lacy Psychoeducational Report to NBME.

24. NBME’s FIRST DENIAL OF ACCOMODATIONS: On May 18, 2007,
NBME advised Jenkins that it was unable to provide Jenkins with the requested accommodation
of extra time for the Step 1 Exam. NMBE denied the requested accommodation
notwithstanding the reports of every psychologist who had ever evaluated Jenkins, and with no
testing or evaluation of its own.

25. USMLE Step 1/THE SECOND REQUEST FOR ACCOMMODATION: On
June 18, 2007, Jenkins reapplied for the accommodation of additional time on the Step 1 Exam.

26. |NBME’S SECOND DENIAL OF ACCOMODATIONS: On August 29, 2007,

NBME again denied Jenkins the accommodation of extra time, claiming that Jenkins is not

 

'2 Business Record Affidavit of John M. Lacy, Ph.D., HSPP, which attaches his Psychoeducational Report
of Jenkins. Attached as Exhibit 12.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 8 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 9 of 20 PagelD #: 13

‘substantially limited in a major life activity relative to most people.” Again, NBME made this
decision without ever having met, tested or evaluated Jenkins.

27. SUMMARY OF “HANDS-ON,” “EYE-TO-EYE” PROFESSIONALS,
TESTS AND RESULTS:
Dr. Michael Gontarz — January 1991

Child Skills Checklist

Child Behavior Checklist

A.D.H.D. Rating Scale

Wechsler Intelligence Scale for Children-Revised
Coffman Tests of Educational Achievement

Test of Auditorial Perceptual Skills

Beery Developmental Test of Visual-Motor Integration
Culture Free Self-Esteem Inventory

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David R. Holmes, PhD. — October 1999

Wechsler Adult Intelligence Scale-3™ Edition
Wechsler Individual Achievement Test
Outcome Questionnaire

Thurstone Word Fluency

Beck Depression Inventory-II

op Boop

David R. Holmes, PhD. — September 2003
a. Wechsler Adult Intelligence Scale-III
b. DSM-4 Diagnosis-Axis 1: 315.90 Learning Disorder NOS (Principal)
c. Wechsler Individual Achievement Test-II
John M. Lacy, PhD. HSPP — January 2007

a. Wecshler Adult Intelligence Sale — II
»b. Woodcock Johnson III'?

 

3 Before granting a time accommodation on the STEP 1 Exam, NBME requires a learning disorder
diagnosis and a current (less than three years old) assessment of an applicant’s learning disability. The Woodcock
Johnson III battery of tests is accepted by the board for this assessment and a DSM-IV 315.00 diagnosis is what is
required. Dr. Lacy’s evaluation of Jenkins was done at the insistence of NBME, and with respect to the Woodcock
Johnson III, Dr. Lacy found that Jenkins reading fluency, math fluency, and spelling skills lie significantly below his
expected achievement level and constitute learning disabilities. Again, Dr. Lacy made the following DSM-IV
diagnoses: (1) reading disorder (315.00); (2) disorder of written expression (315.20); and (3) learning disorder not
otherwise specified (i.e., low academic fluency (315.90)

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 9 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 10 of 20 PagelD #: 14

The various foregoing tests measured and evaluated, among other things, Jenkins’:

Verbal IQ
Performance IQ
Full Scale IQ
Verbal Conceptual
Perceptual Organization
Working Memory
Processing Speed
Basic Reading
Mathematics Reasoning
Spelling
Reading Comprehension
Numerical Operations
Listening Comprehension
Oral Expression
Reading Composite
Mathematics Composite
Language Composite
Total Composite
Letter-Word Identification
Passage Comprehension
Reading Fluency
Broad Reading
Calculation
Mathematics Fluency
Spelling
Writing Samples
- aa. Writing Fluency
bb. —_ Broad Written Language
ce. Academic Skills
- dd. Academic Fluency

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28. It is absolutely critical to note that all of the foregoing diagnostic tests and
evaluations were personally administered by licensed professionals. In other words, the
diagnoses and evaluations were done by professionals who personally, hands-on, eye-to-eye, met
with, observed, and tested Jenkins.

29. The foregoing myriad of diagnostic tests and evaluations resulted in Jenkins
meeting the DSM-IV criteria for the following diagnoses:

a. Reading Disorder (315.00)

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 10 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 11 of 20 PagelD #: 15

b. Disorder of Written Expression (315.2)

c. Learning Disorder Not Otherwise Specified (i.e., low academic fluency)(315.90)

30. Dating as far back as 1991, when Jenkins was in the third grade, a team of
professionals including a psychologist and a learning disability specialist diagnosed Jenkins with
dyslexia. Since then, other professionals and diagnosticians over the years have diagnosed, and
continue to diagnose Jenkins with a learning disability that comports with the criteria of the
DSM-IV.

: 31. Specifically, and covering the years from his third grade in school through the

present, Jenkins psychologists, diagnosticians, and other learning disability specialists have
consistently noted, among other things:

e Jenkins shows significant spelling weaknesses and some reading decoding problems, but
compensates in the later when he must comprehend what is read.

e Jenkins did not possess the abilities to be a reader.

e Jenkins could only remain in a regular reading class if provided accommodations and
extensive support services.

e Jenkins took extra processing time when reading.
e Jenkins did well on tests. It just took him a long time to finish them.

e Jenkins needs to slow down the speed of his reading and seek extra time for tests
involving significant elements of reading.

e Jenkins should receive formal accommodations on timed tests of up to time and a half.
e Jenkins reading speed is far below average.
e Any tasks requiring reading with speed produces Jenkins lowest scores.

e Extended time should be allowed on all timed tasks for Jenkins as an appropriate
intervention.

e Jenkins should receive time and one half with seating in a separate room.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 11 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 12 of 20 PagelD #: 16

e Jenkins is at a disadvantage relative to his knowledge of the material in question as a
result of his low academic fluency and his reading decoding and written language
disabilities.'4
32. INSPITE OF NEVER HAVING MET JENKINS, NEVER HAVING TESTED

JENKINS AND NEVER HAVING EVALUATED JENKINS, NMBE IGNORES MULTIPLE
QUALIFIED PROFESSIONALS, YEARS OF TESTS AND EVALUATIONS, YEARS OF
OBSEVATIONS AND, PERHAPS MOST IMPORTANTLY, THE OBJECTIVE AND
UNASSAILALBE HISTORY OF JENKINS DISABLITY MANEFESTING WHEN TESTED
WHERE READING WAS SUBSTANTIAL AND TIME WAS CONSTRAINED.

33.. Students at the ULSOM (as in many medical schools in the United States) are
requested to take and pass the USMLE Step 1 before starting the third year of medical school.
The third year of school consists of “rotations,” i.e., medical education through the practical
application of the principles learned in the classroom. ULSOM requests Step 1 be taken before
the third year begins to avoid interfering with the third year studies. Passing the Step 1 is a
prerequisite to completing the third year, obtaining residency admission, and being able to sit for
the Step 2 and 3 examinations.

34. | The NBME develops and administers the USMLE Step 1 at various test sites and
on various dates throughout the United States. The results of each student’s scores are reported

to that student’s medical school.

 

‘4 Although Jenkins was not formally diagnosed with a learning disability until the third grade, his
preschool and kindergarten teacher noted that he had difficulty learning names of letters and associating the letters
with their sounds, and that all the other children in the classroom were reading at a higher level than Jenkins. The
kindergarten teacher also noted that Jenkins showed traits of dyslexia, such as difficulty decoding single words,
inaccurate in labret or reading, slow reading, and difficultly learning the letters of the alphabet and names of
numbers. See the Affidavit of Carol Blevins attached as Exhibit 1.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 12 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 13 of 20 PagelD #: 17

35. | The NBME recognizes the right of disabled persons to accommodations by
providing an application on which examinees can request test accommodations for the USMLE
Step 1, including accommodations for learning disabilities like those suffered by Jenkins.

: 36. Students pay a fee and apply with NBME for an eligibility period (a three month
time span) within which to take the Step 1. Exam. Jenkins was original eligibility period was
from June 1, 2007 through August 31, 2007. When NBME denied both of his requests for
reasonable accommodations, Jenkins paid an extra fee to extend his eligibility period to allow
himself time to seek the Court’s intervention in protecting his ADA rights. Due to NBME’s
strict and unyielding rules, if Jenkins does not take the Step 1 Exam on his scheduled date of
December 18, 2007, it will be impossible for him to take the exam before his third year rotations
begin on January 2, 2008.

37. The facts establish that Jenkins has definite learning disabilities that substantially
limit his major life activities of learning, reading and writing as compared to most people. Under
the ADA, Jenkins is entitled to a reasonable accommodation of additional time to take the
USMLE Step 1 exam. NBME’s refusal to provide Jenkins with an accommodation of extra time
for the USMLE Step 1, despite knowing of Jenkins’ documented learning disabilities that are
protected under the ADA, is a violation of Jenkins’ rights under the ADA.

38. Jenkins will be unable to complete his medical school education in the same
manner as his classmates if he does not successfully complete the USMLE Step 1. Moreover, he
will be placed at a distinct disadvantage of competing for quality residency positions if he must
take the exam without accommodation for his disability. In the worst case scenario, Jenkins’s
medical career and dream could end if he is unable to pass the USMLE Step 1, due to NBME’s

refusal to accommodate his disability as required by the ADA.

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 13 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 14 of 20 PagelD #: 18

. COUNT I— VIOLATION OF THE ADA; REQUEST FOR INJUNCTIVE RELIEF

39, Jenkins incorporates by reference the foregoing paragraphs.

40. Jenkins is an individual with a disability as defined by the ADA because he has a
mental impairment that substantially limits one or more of his major life functions, namely,
learning disabilities that substantially limit his major life functions of learning, reading, and
writing. 42 U.S.C. §12102(2)(A).

41. Title III of the ADA (46. U.S.C. § 12189) prohibits discrimination against persons
with disabilities in professional examinations such as the USMLE Step 1 as follows:

Any person that offers examinations or courses related to

applications, licensing, certification, or credentialing for secondary or

post-secondary education, professional, or trade purposes shall offer such

examinations or courses in a place and manner accessible to persons with

disabilities or offer alternative accessible arrangements for such

individuals.

42. The NBME is covered by the ADA pursuant to 42 U.S.C. §12189 in its capacity
as the administrator of the USMLE Step 1.

43. Pursuant to 28 C.F.R. § 36.309(b), the NBME must assure that any examination

is selected and administered so as to best insure that, when the
examination is administered to an individual with a disability that
impairs sensory, manual or speaking skills, the examination results
accurately reflect the individual’s aptitude or achievement level or
whatever other factors the examination purports to measure, other
than reflecting the individual’s impaired sensory, manual, or
speaking skills.

44. One reasonable accommodation for a disabled person, such as Jenkins, that may
be allowed under the ADA is lengthening the time permitted for completing the examination.

45. Jenkins has a learning disability that substantially limits his major life activities of

learning, reading and writing. Jenkins’ condition, which has been diagnosed through testing,

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 14 J:\08062\Pleadings\08062005 Complaint.doc

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 15 of 20 PagelD #: 19

examination and evaluation by experts in this field, constitutes a disability within the meaning of
the ADA.

40. Under the ADA, a disability is defined, in part, as a physical or mental
impairment that substantially limits one or more major life activities of an individual. 42 U.S.C.
§ 12102(2). Under the authority of 42 U.S.C. § 12134, the Department of Justice has
promulgated regulations (28 CFR § 35.104) that include “learning” and “work” within the
definition of major life activities. The major life activity of learning also includes “reading” and
“writing” as activities protected by the ADA. The “substantially limited” standard for the major
life activity of learning, reading, or writing, is established when “the individual’s important life
activities are restricted as to the condition, manner, or duration under which they can be
performed in comparison to most people.” 28 CFR, pt. 36, App. B.

47. As noted above, Jenkins has a learning disability that substantially impairs his
ability to read and process the written word. His disability precludes him from learning, reading
and writing in the same manner and in the same amount of time as most people. This learning
disability substantially limits his activity of learning, reading, and writing, in comparison to most
people and certainly in comparison to his peers, other medical students taking the USMLE.

48. Failure in the taking of the USMLE, necessarily precludes an individual from
employment as a medical doctor in the United States. Successful passing of the USMLE is a
prerequisite to licensure to practice medicine in the United States, and the level of performance
in the taking of the USMLE is a primary determinant of a candidate’s job opportunities for
residency. Thus, Jenkins’s entire future livelihood as a medical doctor rests on this exam.

49. Jenkins made formal written request of NBME for reasonable accommodation for

his disability in connection with taking the USMLE Step 1, i.e., time and one-half to take the

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 15 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 16 of 20 PagelD #: 20

exam, an accommodation NBME has made to some people who have requested the
accommodation. Such accommodations are consistent with the reasonable accommodations, he
was provided to take the ACT, the formal accommodations at the University of Wisconsin-
Madison, the MCAT for entry into medical school, the formal accommodations at ULSOM, and
the formal accommodations he received dating back to the third grade. The NBME has granted
similar accommodations to other candidates in the past taking the Step 1 exam.

50. |The NBME’s refusal to provide the reasonable test accommodations Jenkins
requested for the USMLE Step 1 constitutes an illegal failure to accommodate a disabled person
in violation of the ADA.

2 51. Jenkins will be irreparably harmed if the NBME continues its illegal refusal to
provide him the reasonable test accommodation as requested and unless this Court grants
preliminary injunctive relief prohibiting the continued violation of Jenkins’ ADA rights and
compelling the NBME to provide the requested accommodation, in that (a) Jenkins’ medical
school career will be placed on hold because a passing score on the USMLE Step 1 is a
prerequisite to continuing his medical school education; (b) given his history with prior
examinations, Jenkins is justifiably concerned that he will not pass the USMLE Step 1 without
the additional extra time accommodation to which he is entitled under the ADA; (c) Jenkins’
opportunity to engage in his career of choice is effectively on hold until the NBME is compelled
to comply with the ADA; (d) Jenkins will be unable to continue the same pace of his medical
school career as his peers if he is unable to pass the USMLE Step 1 at this time; (e) requiring
Jenkins to take the USMLE Step 1 without accommodation puts him at distinct disadvantage
given his disability; (f) reduced performance on the USMLE Step 1 as a result of not receiving

accommodation significantly reduces Jenkins’ future residency and professional career options;

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 16 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 17 of 20 PagelD #: 21

and (g) Jenkins faces a future expulsion proceeding under ULSOM’s policy if he takes and fails
to pass the USMLE Step 1 in a timely manner.

52. The NBME will not be harmed if the Court grants the requested injunctive relief.
Thus, the balancing of harm favors granting the requested injunctive relief.

53. The public interest will be served by granting the requested injunctive relief. The
ADA was enacted as a matter of public policy to ensure that disabled persons are treated fairly
and provided with equal opportunities to those persons in the community without disabilities.
The public interest will not be served by allowing the NBME to continue its unlawful refusal to
provide Jenkins with the ADA accommodations to which he is justly entitled.

54. As a result of the NBME’s violation of the ADA, Jenkins suffered or will suffer
great injury, including, but not limited to, lost employment opportunities, out-of-pocket
pecuniary losses, and severe emotional distress and anguish.

55. | The NBME in denying Jenkins’ for reasonable accommodation violated the ADA
and has done so while acting maliciously or with reckless indifference for Jenkins’ ADA rights.

56. Accordingly, under the ADA, Jenkins is entitled to and hereby requests entry of a
preliminary injunction directing the NBME immediately to cease and desist from its refusal to
accommodate Jenkins’ requests for accommodation on the USMLE Step 1 and ordering that the
NBME immediately comply with the ADA by allowing Jenkins the requested accommodation of
one and one-half times the standard time to take the USMLE Step 1.

57. Further, Jenkins is entitled to and hereby requests that the Court enter a permanent
injunction directing that NBME immediately to cease and desist its refusal to accommodate
Jenkins’ request for an accommodation on the USMLE Step 1 and any future USMLE Step

examinations to be taken by Jenkins and that the NBME comply with the ADA by providing

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 17 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 18 of 20 PagelD #: 22

J enkins? requested accommodation with regard to the USMLE Step 1 and future USMLE
examinations for which Jenkins is otherwise entitled to sit and for which he otherwise makes
proper application.

COUNT II - REQUEST FOR ATTORNEY’S FEES

58. Jenkins incorporates by reference the foregoing paragraphs.

59.  42U.S.C. § 12188(a)(1), incorporates into Title III of the ADA the remedies and
procedures set forth in 42 U.S.C. § 2000a-3(a) including the right to recovery of reasonable
attomey’s fees, and costs and expenses incurred in bringing this claim under the ADA. Jenkins
is entitled to recovery and, hereby, does request recovery of all reasonable attorney’s fees, costs,
and expenses incurred in the bringing and prosecution of this action.

JURY DEMAND

60. Jenkins hereby demands a trial by jury for all issues in this case that may be
triable by ajury of his peers.

WHEREFORE, PREMISES CONSIDERED, Jenkins requests that this Court grant
judgment in his favor and against NBME as follows:

: a. enter a preliminary injunction directing that the NBME immediately cease and
desist from its refusal to accommodate Jenkins’ request for reasonable accommodations on the
USMLE Step 1 examination and ordering that the NBME immediately comply with the ADA by
allowing Jenkins the requested accommodation of one and one-half times the standard time in
which to take the USMLE Step 1 examination;

b. order NBME to appear on the date and time affixed by this Court to show cause,

if any there be, why a preliminary injunction as prayed for above, should not be issued;

Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 18 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 19 of 20 PagelD #: 23

c. enter judgment in the form of a permanent injunctive order against NBME
directing NBME to immediately cease and desist from its refusal to accommodate Jenkins’
request for accommodation on the USMLE Step 1 examination and any future USMLE Step
examinations for which Jenkins is otherwise entitled to sit and for which he has made proper
application and ordering NBME to comply with the ADA by allowing Jenkins the requested
accommodation of one and one-half times the standard time to take any of the USMLE Step
examinations;

d. enter judgment against NBME awarding such compensatory damages as may be
proven by Jenkins and to which he is entitled;

€. enter judgment against the NBME awarding Jenkins recovery of his reasonable
attorney’s fees, costs and expenses incurred in bringing and prosecuting this litigation; and

f. awarding such other and further relief as may be appropriate, in law or in equity,
to which Jenkins may otherwise by entitled.

Respectfully submitted,

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Original Complaint for Emergency Injunctive
Relief and Demand for Jury Trial - Page 19 J:\08062\Pleadings\08062005 Complaint.doc

 

 
Case 3:07-cv-00698-JGH Document 16-3 Filed 12/17/07 Page 20 of 20 PagelD #: 24
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VERIFICATION

STATE OF Kentucky §
county or Jake :

BEFORE ME, the undersigned notary public, on this day personally appeared Kirk D.
Jenkins, who, after being duly swom, stated under oath that he the plaintiff in this action, that he
has read Plaintiff's Original Complaint for Emergency Injunction Relief and Demand for Jury
Trial, and that every factual statement contained in the complaint is within his personal

knowledge and is true and correct.

— Kigk D. Jenkins

SUBSCRIBED AND SWORN to before me on this the ! ) day of December 2007.

Lb. £ peicLoww
Notary Public, State _Kenin ey

KIMBERLY S. HOLSCLAW
Notary Public-State at Large
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1] My Commission Expires October OS, 2009

 

Original Complaint and Demand for Jury Trial
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